     Case 2:24-bk-15335-BB            Doc 25 Filed 10/08/24 Entered 10/08/24 15:25:59               Desc
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                                                                        FILED & ENTERED
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4                                                                            OCT 08 2024
                                 UNITED STATES BANKRUPTCY COURT
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                                                                         CLERK U.S. BANKRUPTCY COURT
                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES
                                                            CentralDIVISION
                                                                   District of California
6                                                                        BY evangeli DEPUTY CLERK


7                                                      Case No.: 2:24-bk-15335-BB
     In re:
8
     Jeffrey Clark                                     CHAPTER 7
9
                                                       ORDER (i) DENYING DEBTOR’S MOTION
10                                                     TO EXTEND TIME TO FILE CASE OPENING
                                                       DOCUMENTS AND (ii) REQUIRING
11                                                     DEBTOR TO FILE OFFICIAL FORM 423 BY
12                                       Debtor(s).    OCTOBER 11, 2024

13                                                     [No hearing]

14
               On October 7, 2024, debtor Jeffrey Clark filed a motion to extend time to file case
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     opening documents (“Motion”), including (i) one or more schedules; (ii) statement of financial
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     affairs; and (iii) statement of current monthly income. The Court having found that all required
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     case commencement documents have been filed,
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               IT IS HEREBY ORDERED that the Motion is DENIED.
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               IT IS FURTHER ORDERED that debtor shall, pursuant to docket entry No.15, complete
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     and file the missing Official Form 423 (found on the court’s website under “Other Forms” and
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     attached hereto for reference) not later than October 11, 2024.
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25            Date: October 8, 2024

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